84 F.3d 1452
    318 U.S.App.D.C. 78
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Kevin V. NEWMAN, Appellant.
    No. 95 3057.
    United States Court of Appeals, District of Columbia Circuit.
    April 17, 1996.
    
      Before:  SILBERMAN, ROGERS, and TATEL, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.   The court has determined that the issues presented occasion no need for an opinion.   See D.C.Cir. Rule 36(b).   It is
    
    
      2
      ORDERED AND ADJUDGED that appellant's conviction and sentence be affirmed.   Appellant has waived his objections to the fraud loss calculation which determined his base offense level.   Cf. United States v. Polanco, 53 F.3d 983 (8th Cir.1995).   Furthermore, the district court's upward adjustment for "more than minimal planning" was proper.  United States v. Kim, 23 F.3d 513 (D.C.Cir.1994).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 41.
    
    